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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

Adam Steele, Brittany Montrois,       )
and Joseph Henchman, on behalf        )
of themselves and all others          )
similarly situated,                   )     Civil Action No.: 1:14-cv-01523-RCL
       Plaintiffs,                    )
                                      )
v.                                    )     Amended Class Action Complaint
                                      )
United States of America,             )
      Defendant.                      )
                                      )

      In 2010, the Department of Treasury and the IRS issued a series of regulations

targeting people who prepare tax returns for others—the first attempt to regulate tax

return preparers in American history. As part of this novel regulatory effort, the IRS

began requiring all tax return preparers to pay an initial $64.25 fee to obtain a

preparer tax identification number (or PTIN), and an annual $63 renewal fee

thereafter. All tax return preparers who were not licensed certified public

accountants (CPAs), attorneys, or authorized tax practitioners known as enrolled

agents were, for the first time, required to pass a qualifying exam and take continuing

education courses in order to prepare tax returns for others for compensation.

      Last year, the D.C. Circuit held that 31 U.S.C. § 330, which permits the IRS

to “regulate the practice of representatives of persons before the Department of the
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Treasury,” does not give the IRS authority to regulate tax return preparers. See

Loving v. Internal Revenue Serv., 742 F.3d 1014 (D.C. Cir. 2014). Despite this

decision, the IRS has continued to charge tax return preparers the fees that were

intended to fund its failed regulatory regime—fees that the agency had not charged

before that regime took effect.

        This case—a class action brought by tax return preparers who have paid PTIN

fees—challenges the legality of those fees for two independent reasons: First, the IRS

has no authority to charge any PTIN fees because tax return preparers receive no

special benefit in return for them, but only an identifying number. Second, even if

the IRS is authorized to charge a fee for issuance or renewal of a PTIN, it charges

more than is permissible because the fees far exceed any cost the IRS incurs to issue

a PTIN. The plaintiffs thus seek a declaratory judgment and return of these unlawful

fees.

                                       Parties

        1.    Plaintiff Adam Steele, a resident of Bemidji, Minnesota, has been a

licensed CPA in the State of Minnesota since 1998. He regularly prepares federal-

income-tax returns for compensation. From 2010 to 2013, he paid the required fees

for his PTIN.



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      2.     In 2014, Mr. Steele requested refunds of the PTIN fees he had paid

prior to March 2, 2014. He received neither rejection notices nor any refund or

approval notices from the IRS.

      3.     Plaintiff Brittany Montrois, a resident of McDonough, Georgia, has

been a licensed CPA in the State of Georgia since 2011. She regularly prepares

federal-income-tax returns for compensation. She has paid the required annual fees

for her PTIN since 2011.

      4.     Plaintiff Joseph Henchman, a resident of Washington, District of

Columbia, is an attorney specializing in tax law since 2007. He has paid the required

fees for his PTIN every year since 2011.

                              Jurisdiction and Venue

      5.     This Court has subject-matter jurisdiction over this action under 5 U.S.C

§ 702, 28 U.S.C. § 1331, and 28 U.S.C. § 1346(a). The plaintiffs’ individual claims

against the defendant, as well as those of each member of the proposed class, do not

exceed $10,000.

      6.     The Court has personal jurisdiction over all parties to this lawsuit, and

venue is proper under 5 U.S.C. § 703, 28 U.S.C. § 1391, and 28 U.S.C. § 1402(a).




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                                  Factual Allegations

      7.        A tax return preparer is someone who prepares a federal-income-tax

return for another taxpayer for compensation. The preparer need not be the

taxpayer’s “authorized representative” before Treasury and the IRS—a term the IRS

regulations define to include CPAs, attorneys, and enrolled agents.

      8.        Since 1913, when the Sixteenth Amendment gave Congress the power

to collect income taxes, taxpayers have increasingly hired tax return preparers to

help them prepare their income-tax returns for filing with the IRS.

      9.        The rapid growth of the commercial tax-preparation industry in the

decades after World War II led Congress to authorize Treasury, beginning in 1977,

to require that tax return preparers place their social security numbers (SSNs) on

every return they prepared. This authorization, which enabled the IRS to identify

whether a preparer was engaging in abusive practices, was codified at 28 U.S.C.

§ 6109(a)(4).

      10.       In 1998, Congress amended § 6109 and authorized the use of

alternative numbers to SSNs to identify tax return preparers. Starting in 1999, the

IRS began issuing PTINs to preparers in order to protect their privacy and prevent

inappropriate use of their personal SSNs. But these numbers were not mandatory:

Tax return preparers were given the option to use either their SSNs or PTINs when
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preparing another taxpayer’s income-tax return. Regulations were issued in 2009,

which are still effective, that also permitted tax return preparers to omit their PTIN

or SSN (as applicable) from any copies of tax returns provided to taxpayers.

      11.    Until 2010, the IRS issued PTINs to tax return preparers at their request

and at no charge. These PTINs never expired and, once issued, did not change.

      12.    During this period, the IRS urged Congress to consider several

proposals to regulate the commercial tax return preparation industry and tax return

preparers. None of these proposals, however, became law.

      13.    In June 2009, IRS Commissioner Douglas Shulman unilaterally

launched the Return Preparer Review. The resulting findings and recommendations

were subsequently published by the IRS in December 2009 in Publication 4832. In

that publication, the agency recommended a regulatory scheme that included (a) the

mandatory registration of tax return preparers through PTINs, (b) the mandatory

testing of non-credentialed tax return preparers for competency, and (c) the

mandatory continuing education of non-credentialed tax return preparers. It also

suggested the possibility of a triennial “reasonable, nonrefundable fee to register as

a tax return preparer.”

      14.    Over the course of 2010 and 2011, as the IRS began to face increasing

budgetary uncertainty, Treasury and the IRS promulgated new regulations,
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collectively referred to as the “new regulatory scheme,” that were based largely upon

the findings of the 2009 Review. See 26 C.F.R. §§ 1.6109-2, 300, and Subtitle A, Part

10.

      15.    Although Congress had repeatedly rejected its legislative proposals on

the issue, the IRS’s declared legal authority to promulgate these new regulations

arose primarily from 31 U.S.C. § 330, as well as 26 U.S.C. § 6109 and 31 U.S.C.

§ 9701. The regulations relating to identification numbers and related fees went into

effect at the end of 2010. The regulations relating to testing, continuing education,

and other facets went into effect in 2011 and thereafter.

      16.    Treasury and the IRS outlined the benefit to the IRS of the new PTIN

regulations: “Requiring registration through the use of PTINs will enable the IRS to

better collect and track data on tax return preparers. This data will allow the IRS to

track the number of persons who prepare returns, track the qualifications of those

who prepare returns, track the number of returns each person prepares, and more

easily locate and review returns prepared by a tax return preparer when instances of

misconduct are detected.” User Fees Relating to Enrollment and Preparer Tax

Identification Nos., 75 Fed. Reg. 43110, 43110-11 (proposed July 23, 2010).

      17.    Indeed, “enabl[ing] the IRS to more accurately identify tax return

preparers and the tax returns and refund claims associated with each tax return
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preparer” was described as “[t]he principal objective of the proposed regulations.”

Furnishing Identifying No. of Tax Return Preparer, 75 Fed. Reg. 14539, 14542

(proposed Mar. 26, 2010).

      18.     The regulations required non-credentialed tax return preparers (i.e.,

preparers other than attorneys, CPAs, and enrolled agents), for the first time, to pass

a competency examination as a registration requirement. The IRS referred to those

who successfully passed the examination and registered as “registered tax return

preparers.” These registered preparers were required to take fifteen hours of

continuing professional education credit every year. Like the competency exam,

this was another first-time requirement. Fees applied to testing and continuing

professional education.

      19.     As part of the new regulatory scheme, the IRS also required—again for

the first time—that all tax return preparers (including CPAs, attorneys, enrolled

agents, and non-credentialed preparers) register with the IRS and obtain a PTIN. In

late 2010, the IRS began charging an initial registration fee of $64.25 to every tax

return preparer. The IRS also required tax return preparers to renew their PTINs

every year—even though the PTINs did not change—and charged an annual renewal

fee of $63.



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      20.    This was in stark contrast with what the IRS had done before: For more

than a decade, the IRS charged no fee to issue a PTIN and required tax return

preparers to submit only their name, address, SSN (if applicable), and date of birth.

The PTINs the agency issued before 2010 never expired, and the IRS required no

fees or further information from a tax return preparer to maintain the validity of the

PTIN after issuance.

      21.    Both the initial fee and renewal fee include a flat $50 fee that is collected

by the IRS “for processing the application for a [PTIN].” 26 C.F.R. § 300.13(b). The

remainder of each fee consists of fees charged by a third-party vendor to “administer

the application and renewal process.” User Fees Relating to Enrollment and Preparer

Tax Identification Nos., 75 Fed. Reg. 60316, 60319 (Sept. 30, 2010).

      22.    In July 2010, the IRS stated that the proposed $50 fee would include

costs associated with “the development and maintenance of the IRS information

technology system that interfaces with the vendor and the development and

maintenance of internal applications,” as well as customer-support activities and

suitability and compliance checks. User Fees Relating to Enrollment and Preparer

Tax Identification Nos., 75 Fed. Reg. 43110, 43111 (proposed July 23, 2010). No

further breakdown of the costs or cost analysis was provided.



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      23.    In August 2010, the IRS stated that the $50 fee was designed to recover

costs associated with “(1) the costs the government faces in administering registration

cards or certificates for each registered tax preparer, (2) costs associated with

prescribing by forms, instructions, or other guidance which forms and schedules

registered tax preparers can sign for, and (3) tax compliance and suitability checks

conducted by the government.” Regulations Governing Practice Before the Internal

Revenue Service, 75 Fed. Reg. 51713, 51721 (proposed Aug. 23, 2010). Only the

third item (tax compliance and suitability checks) had previously been cited as a cost

to be recovered by the $50 PTIN fee. Upon information and belief, Treasury and

the IRS have never conducted tax compliance or suitability checks.

      24.    The plaintiffs have each paid the initial fee and one or more renewal

fees since the new regulatory scheme went into effect in late 2010.

      25.    The plaintiffs each received their PTINs by email or letter—the same

format used by the IRS prior to the imposition of the new regulatory scheme. The

plaintiffs did not receive registration cards or certificates with their PTINs, and their

PTINs did not change after initial issuance. In 2012, the second page of the PTIN

acknowledgment letter included a section that was approximately two inches by

three inches with rounded corners that listed Treasury identifying information and



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the name of the PTIN recipient, the PTIN, Treasury’s file number, and the PTIN’s

expiration date.

      26.    Since the PTIN fee requirements went into effect at the end of 2010, the

IRS has collected over $175,000,000 in PTIN fees.

      27.    In 2014, the D.C. Circuit issued its decision in Loving, holding that tax

return preparation is not subject to regulation under 31 U.S.C. § 330, and thus the

IRS did not have authority under that statute to regulate tax return preparers.

      28.    Although the IRS’s authority to charge all tax return preparers fees for

PTINs was not specifically challenged in Loving, the D.C. Circuit’s ruling effectively

returned the IRS’s regulation of tax return preparers to the status quo ante.

      29.    Since Loving, Treasury has issued guidance that eliminates tax return

preparation from inclusion as activity subject to regulation under § 330. Yet the IRS

continues to require tax return preparers to pay the same initial and annual PTIN

fees of $64.25 and $63. Thus, based on the general costs cited by the IRS in setting

the PTIN fees, the PTIN fees fund activities and programs that exceed the IRS’s legal

authority.

                              Class Action Allegations

      30.    The plaintiffs bring this class action under Rules 23(b)(1), (b)(2), and/or

(b)(3) of the Federal Rules of Civil Procedure.
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      31.     The plaintiffs seek certification of the following class:

      All individuals and entities who have paid an initial and/or renewal fee for a
      PTIN, excluding Allen Buckley, Allen Buckley LLC, and Christopher Rizek.
      32.     The class is so numerous that joinder of all members is impractical.

While the exact number and identify of class members is unknown to the plaintiffs

at this time and can only be ascertained through appropriate discovery, the plaintiffs

believe that the number of class members is between 700,000 and 1,200,000. The

precise number and identification of the class members will be easily ascertainable

from the defendant’s records.

      33.     There are questions of law and fact common to all members of the

class. Those common questions include, but are not limited to:

      (i)     Does the IRS have the legal authority to impose a fee for issuing a

              PTIN?

      (ii)    Does the IRS have the legal authority to impose a fee for renewing a

              PTIN?

      (iii)   Are the fees imposed by the IRS excessive?

      34.     The plaintiffs’ claims are typical of the claims of the class because they,

like the class members, paid the uniform fees required by the defendant in order to

obtain their PTINs.


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       35.    The plaintiffs will fairly and adequately protect the interests of the class

because each of them has paid the fee required to obtain a PTIN during the class

period, their interests do not conflict with the interests of the class, and they have

obtained counsel experienced in litigating class actions and matters involving similar

or the same questions of law.

       36.    The prosecution of separate actions by individual members of the class

would create a risk of inconsistent or varying adjudications with respect to individual

members of the class that would impose incompatible standards of conduct for the

defendant. In addition, the prosecution of separate actions by individuals of the class

would create a risk of adjudications with respect to individual class members that, as

a practical matter, would be dispositive of the interests of the other members not

parties to such individual adjudications or that could substantially impair or impede

their ability to protect their interests.

       37.    The defendant has acted or refused to act on grounds that apply

generally to the class so that final injunctive relief is appropriate as to the class as a

whole.

       38.    The questions of law or fact common to the members of the class

predominate over any questions affecting only individual members, and a class

action is superior to other available methods for fairly and efficiently adjudicating
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the plaintiffs’ claims. Joinder of all members is impracticable. Furthermore, because

the injury suffered by the individual class members may be relatively small, the

expense and burden of individual litigation make it impossible for members of the

class to individually redress the wrongs done to them. There will be no difficulty in

the management of this action as a class action.

                                     Causes of Action

                                      FIRST CLAIM
                                   (Unlawful PTIN Fees)

      39.    The IRS lacks legal authority to charge a fee for the issuance or renewal

of a PTIN.

      40.    The use of PTINs is for the benefit of the IRS.

      41.    Tax return preparers receive no specific or special benefit or thing of

value in registering for and obtaining a PTIN.

      42.    Charging a fee for the issuance or renewal of a PTIN constitutes

unlawful agency action under the Administrative Procedures Act, 5 U.S.C. § 706(2).

      43.    The IRS has violated the plaintiffs’ rights under the Due Process Clause

of the U.S. Constitution by imposing and collecting from the plaintiffs’ PTIN fees

that are not legally authorized.




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      44.     The plaintiffs are entitled to a judgment declaring that Treasury and the

IRS lack legal authority to charge a fee for issuance or renewal of a PTIN under 31

U.S.C. § 9701, or any other statute.

      45.     The plaintiffs are also entitled to the return or refund of all PTIN fees

illegally exacted, or otherwise unlawfully charged, plus reasonable interest.

                                  SECOND CLAIM
                                (Excessive PTIN Fees)

      46.     If the IRS has legal authority to charge a fee for the issuance or renewal

of a PTIN, the fees charged exceed the amount that can be charged under 31 U.S.C.

§ 9701, as they include costs attributable to the public benefit and do not reasonably

reflect the value of the specific service for which they are charged.

      47.     Furthermore, the fees charged for the issuance or renewal of a PTIN do

not reasonably reflect the cost of the services performed by the IRS.

      48.     The IRS has violated the plaintiffs’ rights under the Due Process Clause

by imposing and collecting from the plaintiffs’ PTIN fees that are not legally

authorized.

      49.     The plaintiffs are entitled to a judgment declaring that the fees charged

for the issuance and renewal of a PTIN are excessive.




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      50.    The plaintiffs are entitled to the return or refund of the excessive PTIN

fees illegally exacted or otherwise unlawfully charged, plus interest.

                                   Prayer for Relief

      The plaintiffs, on behalf of themselves and members of the class, request that

this Court grant the following relief:

      1.     A judgment declaring that the IRS lacks legal authority to charge a fee

for issuance or renewal of a PTIN under 31 U.S.C. § 9701, or any other statute.

      2.     A judgment declaring that the fees charged for the issuance and renewal

of a PTIN are excessive.

      3.     Restitution or return of all PTIN fees collected by Treasury or the IRS,

plus reasonable interest.

      4.     Restitution or return of any PTIN fees collected by Treasury or the IRS

that are found to exceed the amount authorized by law, plus reasonable interest.

      5.     A judgment declaring that the IRS may only request information from

tax return preparers that is authorized by statute.

      6.     Such other relief as the Court deems equitable and just.




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Dated: August 7, 2015                 Respectfully submitted,

                                 By: s/ William H. Narwold

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                                Brittany Montrois, Joseph Henchman
                                and the Putative Class




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                                    Proof of Service

        I, William H. Narwold, declare that I am over the age of eighteen (18) and

not a party to the entitled action. I am a member of the law firm MOTLEY RICE

LLC, and my office is located at 20 Church Street, 17th Floor, Hartford, CT 06103.

        On August 7, 2015, I caused to be filed the following in the above-captioned

case:

                          Amended Class Action Complaint

with the Clerk of Court using the Official Court Electronic Document Filing system,

which served copies on all interested parties registered for electronic filing.

        I declare under penalty of perjury that the foregoing is true and correct.


Dated: August 7, 2015                           Respectfully submitted,

                                                By: s/ William H. Narwold
                                                    William H. Narwold
                                                    MOTLEY RICE LLC




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